                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF WISCONSIN

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      AKIL CARTER; et al.,
           PLAINTIFFS,

      v.                                     Case No.     19-CV-1422-JPS

      CITY OF WAUWATOSA; et al.,
           DEFENDANTS.


 PLAINTIFFS’ MOTION TO EXTEND TIME TO FILE RESPONSE TO
THE DEFENDANTS’ SUMMARY JUDGMENT MOTION SEPTEMBER
                         17, 2021



      NOW COME the Plaintiffs, through their Counsel, Joy Bertrand, to

move this Court to extend the time to file Plaintiff’s response to

Defendant’s Motion for Summary Judgment for two days to September 17,

2021. As further grounds therefore, they submit:

      September 15, 2021 currently is due date to file a Response to the

Defendants’ Summary Judgment Motion and a Reply in Support of their

own Motion for Partial Summary Judgment.

      On September 15, 2021, at 3:30 P.M. in Milwaukee, Undersigned

Counsel emailed Defense Counsel to ask if she would stipulate to

extending the time for the Plaintiffs to submit their summary judgment




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responses for one day. Plaintiff’s Counsel noted in the email that she was

waiting to pick up her dog, who was finishing Day Three of Three of initial

cancer treatment. Plaintiff’s Counsel was not sure what might develop

that evening, but the vet wanted Counsel to plan to stay close by when

they got home. Undersigned Counsel also left a phone message for

Defense Counsel at her firm, but did not receive a call back.

      Plaintiff’s Counsel now submits this Motion, having finally returned

home, after being stranded in the veterinarian’s parking lot. Plaintiff’s

Counsel picked up her dog at the end of her treatment day and as the

clinic was closing. She loaded her dog into the truck, got into the driver’s

seat, and turned the ignition. Nothing except the “check engine” light

came on. Plaintiff’s Counsel was initially able to call OnStar from the car.

Then the truck’s electrical system failed and she was knocked off the call

with OnStar. OnStar reached her via her cell and arranged to have her

vehicle towed to a repair shop.1

      Plaintiff’s Counsel then sat and waited in 102-degree heat, in a

desolate area of northern Phoenix, with her recovering dog, no wifi, and




1Proof of the OnStar communication regarding the tow truck dispatch is
attached to this Motion.

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no electricity for the tow truck and her fiancé to arrive. She files this

Motion upon their return home.

      Given this unexpected event and the potential additional delays that

may now continue into tomorrow, Plaintiff’s Counsel asks this Court to

extend the time to file the Plaintiffs’ summary judgment pleadings to

September 17, 2021. The Plaintiffs would agree to an additional two days

for the Defendants to file their Reply, as well.

      As of the filing of this Motion, Plaintiff’s Counsel has not received

the Defendants’ position on this Motion.

      The Plaintiffs submit that the events detailed above constitute

extraordinary, wholly unexpected circumstances that support this brief

extension.

      The Court will find attached a proposed Order.

      Respectfully submitted this Fifteenth day of September, 2021.


                                                     s/Joy Bertrand
                                                     Joy Bertrand
                                                     Attorney for Plaintiffs


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